
ANDERSON, J.,
delivered the opinion of the court.
Upon the authority of repeated decisions of this court, it was premature and error to decree the sale of the real estate in the bill and proceedings mentioned, until the court had ascertained and adjusted the amount of liens thereon and their priorities. Cole’s adm’or v. McRae, 6 Rand. 644; Smith &amp; al. v. Flint &amp; al., 6 Gratt. 40; Lipscomb v. Rogers, 20 Gratt. 658; White v. Mech. Building Fund Association, 22 Gratt. 233. A reference should have been made to a. commissioner of the court with instructions to convene before him in such manner as to the said court should seem proper, Bassil B. Hopkins and Robert Hull, assignors of Charles P. Shaw, there being nothing in the record to show how much of the whole debt secured by the first deed of trust has been satisfied, and all the lien creditors of Anthony Moran, and to ascertain and report the amount of subsisting liens upon the said real estate and their several priorities, prior to a decree for the sale thereof. It is therefore considered by the court, that the decree of the Corporation court of Alexandria city in this cause be reversed and annulled, and that the appellant recover his costs incurred in the prosecution of his appeal here; and the cause is remanded to the said Corporation court for further proceedings to be had therein in conformity with this opinion.
Decree reversed.

Moran v. Johnston, 26 Gratt. 108, is a supplement to the principal case.

